
ORDER ON MANDATE
PER CURIAM.
Whereas, the judgment of this court was entered on February 24, 1976 (327 So.2d 839) affirming in part and reversing in part the judgment of the Circuit Court of Dade County, Florida in the above styled cause, and
Whereas, on review of this court’s judgment, by certiorari, the Supreme Court of Florida by its opinion and judgment filed March 17, 1977 (343 So.2d 1272) and mandate now lodged in this court quashed a portion of this court’s judgment,
Now, therefore, It is Ordered that the mandate of this court issued in this cause on March 23, 1976 is withdrawn, the opinion and judgment of this court filed February 24, 1976 insofar as it is in conflict with or fails to conform to the views expressed in the said opinion and judgment of the Supreme Court of Florida aforesaid is withdrawn and vacated, and the said opinion and judgment of the Supreme Court of Florida is herewith made the opinion and judgment of this court. The opinion and judgment of this court, except as withdrawn and vacated aforesaid, is adhered to. Costs allowed shall be taxed in the Circuit Court (Rule 3.16(b), Florida Appellate Rules).
